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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


DAHL AUTOMOTIVE ONALASKA, INC.,
et al.,
                                                                     Case No. 20-cv-932-jdp
                               Plaintiffs,
       v.
FORD MOTOR COMPANY, DBA
LINCOLN MOTOR COMPANY

                               Defendant.


                           PLAINTIFFS’ MOTION FOR LEAVE
                       TO FILE A SECOND AMENDED COMPLAINT



       Plaintiffs, by their attorneys, Paul R. Norman and Sarah J. Horner of Boardman & Clark

LLP, respectfully move this Court for leave to file a second amended complaint pursuant to Rule

15(a)(2) of the Federal Rules of Civil Procedure. Plaintiffs’ Proposed Second Amended Complaint

is filed herewith as Exhibit A and makes the following changes to Plaintiffs’ First Amended

Complaint: (1) removes seven plaintiffs that have agreed to voluntarily dismiss their claims against

Defendant Ford Motor Company, dba Lincoln Motor Company (“Ford”); (2) adds an alternative

claim for a permanent injunction against Ford continuing its alleged violation of Section 2(d) of

the Robinson-Patman Act (15 U.S.C. § 13(d)); (3) adds an alternative claim for damages and

injunctive relief regarding Ford’s alleged violation of its implied duty of good faith and fair

dealing; and (4) removes Plaintiffs’ claim for damages arising under Section 2(a) of the Robinson-

Patman Act (15 U.S.C. § 13(a)), while retaining their claim for injunctive relief to prevent Ford

continuing its alleged violations of the statute.
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       These amendments correspond with Ford’s theory and conform to the evidence revealed

during discovery, which Plaintiffs were not aware of at the time they filed Plaintiffs’ First

Amended Complaint. (See Dkt. 23.). No undue delay has occurred because the proof necessary to

state a claim for breach of implied duty of good faith and fair dealing and seek relief under Section

2(d) of the Robinson-Patman Act did not come to light until the conclusion of depositions on

October 27, 2021. Ford will not be prejudiced by this amendment because no additional discovery

on these alternative claims for relief will be necessary and no deadlines will need to be extended.

The grounds for Plaintiffs’ Motion for Leave to File a Second Amended Complaint are more fully

set forth in the corresponding memorandum.

       Respectfully submitted this 3rd day of November, 2021.



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